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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
 CAUSE OF ACTION INSTITUTE,
                                                 )
                                                 )
                 Plaintiff,
                                                 )
                                                 )                   Case No. 1:18-cv-2397 (JEB)
 UNITED STATES DEPARTMENT
                                                 )
 OF COMMERCE,
                                                 )
                                                 )
                 Defendant.
                                                 )

                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56, Defendant United States Department of

Commerce respectfully moves for summary judgment. The bases for this Motion are set forth in

the accompanying Memorandum of Points and Authorities in Support of Defendant’s Motion for

Summary Judgment, the Statement of Material Facts as to Which There is No Genuine Dispute, and

the Declaration of Michael Bogomolny of the United States Department of Commerce. A proposed

order is also attached.

Dated: October 4, 2019                       Respectfully submitted,

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                                             Assistant Attorney General

                                             MARCIA BERMAN
                                             Assistant Branch Director, Federal Programs Branch

                                              /s/ Robert M. Norway
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                    )
CAUSE OF ACTION INSTITUTE,
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OF COMMERCE,
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          Defendant.
                                    )


          MEMORANDUM OF POINTS AND AUTHORITIES IN
     SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                                            INTRODUCTION

        This action concerns Freedom of Information Act (“FOIA”) requests by Plaintiff Cause of

Action Institute (“CoA Institute”) to Defendant United States Department of Commerce

(“Commerce”) for the work calendars of various Commerce officials, including the Secretary’s

calendar, and records of communications to and from certain Commerce officials. Commerce is

entitled to summary judgment because it has fully complied with its obligations under FOIA.

Commerce properly withheld information protected by the attorney client and deliberative process

privileges recognized by FOIA’s Exemption 5, as well as certain personal information protected

from disclosure by Exemption 6. Thus, the Court should grant Commerce’s motion.

                                              BACKGROUND

        In August and September 2018, CoA Institute submitted three separate FOIA requests to

Commerce seeking the calendars of several high-ranking Commerce officials, including Secretary

Wilber Ross; records concerning the staffing and procedures for processing product exclusion

requests under Section 232 of the Trade Expansion Act of 1932;1 and communications to or from

eleven Commerce officials that contained certain search terms. See October 4, 2019 Declaration of

Michael Bogomolny (“Bogomolny Decl.”) ¶¶ 3, 5, 7.

        Commerce acknowledged receipt of the FOIA Requests and assigned tracking numbers.

Bogomolny Decl. ¶¶ 4, 6, 8. As referred to herein, the calendar request was assigned a tracking

number ending in 1990; the staffing and procedures request was assigned a tracking number ending

in 2062; and the communications request was assigned a tracking number ending in 2063. The



1
  In March 2018, Commerce was authorized to grant exclusions from certain customs duties upon
request of affected parties. See generally Requirements for Submissions Requesting Exclusions From the
Remedies Instituted in Presidential Proclamations Adjusting Imports of Steel Into the United States and Adjusting
Imports of Aluminum Into the United States; and the Filing of Objections to Submitted Exclusion Requests for Steel
and Aluminum, 83 Fed. Reg. 12,106 (Mar. 19, 2018); Submissions of Exclusion Requests and Objections to
Submitted Requests for Steel and Aluminum, 83 Fed. Reg. 46,026 (Sept. 1, 2018).


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parties negotiated a narrowing of the 2063 Request. Id. ¶ 9. On October 18, 2018, CoA Institute

filed this action. Id. ¶ 10.

        Commerce made a series of productions of responsive, non-exempt records between

November, 2018 and June, 2019. Id. ¶¶ 11-13, 16-17. In total, Commerce produced 2,712 pages of

records in its productions, withheld 26 records in full, and withheld information in part from a

number of records. Id. ¶¶ 12, 13, 16, 17.

        The parties conferred regarding Commerce’s withholdings, and CoA Institute’s challenges

thereto, on July 13, 2019. Bogomolny Decl. ¶ 19. CoA Institute represented that it is not

challenging the adequacy of Commerce’s search for responsive records, but that it is challenging 18

withholdings in Commerce’s productions, as well as all of the records withheld in full in response to

the 2063 Request. Id. ¶¶ 19-20. CoA Institute also notified Commerce, through counsel, that

Commerce had included in its production at least nine entries in the Secretary’s calendar of ethics

opinions that were unredacted. Id.

        In conjunction with the preparation of its Vaughn index, counsel for Commerce, Mr.

Bogomolny, subsequently brought the disclosure of ethics opinions to the attention of his leadership

and began investigating the circumstances surrounding the disclosure. Bogomolny Decl. ¶ 21-22,

Ex. 12. Mr. Bogomolny determined that during the processing of records in response to CoA

Institute’s FOIA requests, a portion of the Secretary’s calendar was not properly reviewed and

redacted prior to its production. Id. ¶ 23. While the entire calendar file had undergone global

redactions of personally identifiable information, such as email addresses and telephone numbers, it

was discovered that approximately 80 pages of the Secretary’s calendar mistakenly had not been

properly reviewed. Id.

        Commerce notified undersigned counsel about concerns with the disclosure of ethics

opinions on August 21, 2019, and Commerce continued to discuss the issue with the Department of



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Justice into September. Bogomolny Decl. ¶¶ 25-27. Commerce ultimately determined that the

release of the information was inadvertent and not authorized. Id. ¶¶ 28.

        On September 23, 2019, Commerce notified CoA Institute that it had discovered that pages

208 to the end of the production of the Secretary’s calendar only had some global exemptions

applied but did not reflect a full review, and that as a result, some personal information and

privileged material was inadvertently produced. Bogomolny Decl. ¶¶ 29-30. Commerce enclosed a

corrected version of the Secretary’s calendar and asked CoA Institute to replace its copy of the

calendar with the corrected version. See Ex. 12 to Bogomolny Decl. Commerce also provided a

change log showing the additional exemptions claimed. Id. ¶ 30, Ex. 12.

        Subsequently, the parties conferred regarding Commerce’s additional withholdings asserted

in the corrected version of the calendar. Bogomolny Decl. ¶ 31. CoA Institute indicated that it was

challenging the additional withholdings except for withholdings to telephone numbers, conference

line passcodes, and email addresses, pursuant to Exemption 6. Id.

                                       LEGAL STANDARD

        Summary judgment is appropriate when a party can show “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law” as to a claim or defense.

Fed. R. Civ. P. 56(a). “FOIA actions are typically resolved on summary judgment.” See, e.g., Taitz v.

Astrue, 806 F. Supp. 2d 214, 217 (D.D.C. 2011). “The defendant in a FOIA case must show that its

search for responsive records was adequate, that any exemptions claimed actually apply, and that any

reasonably segregable non-exempt parts of records have been disclosed after redaction of exempt

information.” Light v. DOJ, 968 F. Supp. 2d 11, 23 (D.D.C. 2013). Commerce bears the burden of

justifying the withholding of material responsive to Plaintiff’s request, and this Court reviews

Commerce’s response to that request de novo. See 5 U.S.C. § 552(a)(4)(B).




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        The Court may award summary judgment in a FOIA action solely on the basis of

information provided by the agency through declarations that describe “the documents and the

justifications for nondisclosure with reasonably specific detail,” that “demonstrate that the

information withheld logically falls within the claimed exemption[s],” and that are “not controverted

by either contrary evidence in the record nor by evidence of agency bad faith.” Military Audit Project

v. Casey, 656 F.2d 724, 738 (D.C. Cir. 1981) (footnote omitted). “Ultimately, an agency’s justification

for invoking a FOIA exemption is sufficient if it appears logical or plausible” to the court. Judicial

Watch, Inc. v. DOD, 715 F.3d 937, 941 (D.C. Cir. 2013) (per curiam) (citation omitted).

                                            ARGUMENT

        The FOIA represents a balance struck by Congress “‘between the right of the public to

know and the need of the Government to keep information in confidence.’” John Doe Agency v. John

Doe Corp., 493 U.S. 146, 152 (1989) (citation omitted). Congress recognized “that legitimate

governmental and private interests could be harmed by release of certain types of information and

provided nine specific exemptions under which disclosure could be refused.” FBI v. Abramson, 456

U.S. 615, 621 (1982). While these exemptions are to be “narrowly construed,” id. at 630, courts

must not fail to give them “meaningful reach and application.” John Doe, 493 U.S. at 152. Here,

Commerce properly withheld the challenged information pursuant to well-established FOIA

exemptions.

I.      Commerce Properly Withheld Information Pursuant to FOIA’s Exemption 5.

        As a result of its reasonable searches for responsive records, Commerce produced more than

2,700 pages of non-exempt materials responsive to CoA Institute’s FOIA requests. Commerce

properly withheld certain categories of information under FOIA Exemption 5’s attorney client and

deliberative process privileges.




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        FOIA Exemption 5 exempts from disclosure “inter-agency or intra-agency memorandums

or letters that would not be available by law to a party other than an agency in litigation with the

agency.” 5 U.S.C. § 552(b)(5). This exemption “encompass[es] the protections traditionally

afforded certain documents pursuant to evidentiary privileges in the civil discovery context,”

including the attorney client and deliberative process privileges. Rockwell Int’l Corp. v. DOJ, 235 F.3d

598, 601 (D.C. Cir. 2001) (quoting Formaldehyde Inst. v. Dep’t of Health and Human Servs., 889 F.2d

1118, 1121 (D.C. Cir. 1989)); see also Judicial Watch, Inc. v. DOJ, 365 F.3d 1108, 1113 (D.C. Cir. 2004).

        A.      Commerce properly relied on the attorney client privilege.

        The attorney-client privilege protects “confidential communications between an attorney and

his client relating to a legal matter for which the client has sought professional advice.” Mead Data

Cent., Inc. v. U.S Dep’t of the Air Force, 566 F.2d 242, 252 (D.C. Cir. 1977). The attorney-client

privilege is not limited to the context of litigation. See id. at 252-53. The privilege “also protects

communications from attorneys to their clients if the communications ‘rest on confidential

information obtained from the client.’” Tax Analysts v. IRS, 117 F.3d 607, 618 (D.C. Cir. 1997)

(quoting In re Sealed Case, 737 F.2d 94, 98-99 (D.C. Cir. 1984)). A court may infer confidentiality

when the communications suggest that “the Government is dealing with its attorneys as would any

private party seeking advice to protect personal interests.” Coastal States Gas Corp. v. Dep’t of Energy,

617 F.2d 854, 863 (D.C. Cir. 1980).

        The information withheld by Commerce in categories A through C is plainly protected by

the attorney client privilege, as it is ethics opinions embedded in calendar entries, or ethics opinions

or communications about such opinions in emails, that were provided to the Secretary by attorneys

in the Ethics Law and Programs Division of Commerce’s Office of the General Counsel. See

Bogomolny Decl. ¶ 38, Ex. 1 (“Index”) at 1-3. Attorneys from that office provide guidance and

legal advice to Commerce employees regarding conflict of interest, and routinely review proposed



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meetings for Secretary Ross that involve individuals or organizations outside of the executive branch

to advise him whether any conflict of interest or potential conflict of interest is presented by the

proposed meeting. Id. ¶¶ 39-41. The legal advice provided by attorneys from the Ethics Law and

Programs Division assist the Secretary’s decision-making with respect to the proposed meeting. Id.

¶ 40.

        The withheld information in categories A through C includes: (1) requests for the attorneys’

opinion regarding potential conflicts-of-interest in various contexts, such as the Secretary’s

participation in particular phone calls and outside events; (2) the communication to counsel of

pertinent information concerning the events; and (3) the legal advice provided by counsel. Id. ¶ 38;

Index at 1-3. The written consultations were necessary, in part, because the Secretary acts as his

own designee, in consultation with a designated agency ethics official, for the purposes of making

the necessary ethics determination. Id. ¶ 40. The withheld information was also kept confidential, as

it was not disseminated outside the agency. Id. ¶ 38.

        The withheld material in category D is from an email from Commerce’s General Counsel to

senior Commerce officials and consists of the General Counsel’s opinion and assessment of

potential litigation and other risks arising from a proposed trade policy – specifically, a draft

proclamation on adjusting imports of steel into the United States. Id. ¶¶ 42; Index at 4. The

General Counsel’s advice was not disseminated outside Commerce. Id. The challenged

withholdings in categories A through D are therefore communications to and from counsel in

connection with specific requests for legal advice. Thus, the withholdings fall squarely within the

protection of the attorney client privilege. See, e.g., In re Sealed Case, 737 F.2d at 98-99.

        B.      Commerce properly relied on the deliberative process privilege.

        The deliberative process privilege is a “long-recognized privilege” intended to “prevent

injury to the quality of agency decisions” by permitting “the withholding of all papers which reflect



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the agency’s group thinking in the process of working out its policy.” NLRB v. Sears, Roebuck & Co.,

421 U.S. 132, 151, 152–53 (1975). The privilege is intended to “encourage the frank discussion of

legal and policy issues within the government.” Access Reports v. DOJ, 926 F.2d 1192, 1194 (D.C. Cir.

1991) (quoting Wolfe v. U.S. Dep’t of Health and Human Servs., 839 F.2d 768, 773 (D.C. Cir. 1988) (en

banc)) (internal quotation marks omitted). It also “protects the public from confusion that would

result from premature exposure to discussions occurring before the policies affecting it had actually

been settled upon” and ensures the “integrity of the decision-making process” by allowing agency

officials to be judged for their final decisions, “not for matters they considered before making up

their minds.” Russell v. Dep’t of the Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982) (quoting Jordan v.

DOJ, 591 F.2d 753, 773 (D.C. Cir. 1978)).

        The deliberative process privilege “protects materials that are both predecisional and

deliberative.” Mapother v. DOJ, 3 F.3d 1533, 1537 (D.C. Cir. 1993). A predecisional record is one

that “was generated before the adoption of an agency policy.” Judicial Watch, Inc. v. FDA, 449 F.3d

141, 151 (D.C. Cir. 2006) (quoting Coastal States Gas Corp., 617 F.2d at 866). A deliberative record is

one that “reflects the give-and-take of the consultative process.” Coastal States Gas, 617 F.2d at 866.

The privilege typically covers documents such as “drafts, recommendations, proposals, and

suggestions that reflect the personal opinions of the author rather than the policy of the agency.”

Bloomberg, L.P. v. SEC, 357 F. Supp. 2d 156, 168 (D.D.C. 2004). The privilege does not protect

“purely factual material,” but it does cover factual material that would disclose “the inner workings

of the deliberative process itself” or “is so inextricably intertwined with the deliberative sections of

documents that its disclosure would inevitably reveal the government’s deliberations.” Elec. Frontier

Found. v. DOJ, 739 F.3d 1, 13 (D.C. Cir. 2014) (citations and internal quotation marks omitted).

Commerce withheld information and records related to press-relations materials, deliberations

concerning a draft Presidential proclamation, drafts of Commerce’s Section 232 reports, a draft site



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visit agenda, documents concerning meetings held at the White House and attended by senior

Commerce officials, roll-out plans, and briefing materials from the International Trade

Administration.

        Public-Relations materials. Commerce withheld information in categories C and F about

public-relations matters, including drafts of press-relations documents, such as proposed press

talking points, draft media fact sheets, and draft responses to media reports, as well as portions of

emails considering responses to media inquiries and news articles. Bogomolny Decl. ¶¶ 45, 48;

Index at 2-3, 5-6. The challenged withholdings are predecisional to the public statements made by

officials. Id. Release of the information would reveal the official’s objectives, the proposed media

strategy, and the deliberative process of the authors’ of deciding what information to include in the

media strategy. Id. It is well-established that “documents reflect[ing] intra-agency deliberations on

communications with the media … fall within the deliberative process privilege and are covered

under Exemption 5.” Freedom Watch, Inc. v. NSA, 49 F. Supp. 3d 1, 8 (D.D.C. 2014).2 This includes

“agency deliberations about how to respond to media inquiries regarding prior agency actions[,] …

discussions about press coverage of existing agency policies, … suggested talking points about how

to answer questions,” “debates over whether to accept certain interview requests, discussions of

media reports, and so on.” Competitive Enter. Inst. v. EPA, 12 F. Supp. 3d 100, 118 (D.D.C. 2014)

(citing cases) (citations omitted). Thus, the information in categories C and F was properly withheld

based on the deliberative process privilege.

        Deliberations Concerning Draft Presidential Proclamation. The portion of the email withheld in

category D is protected by the deliberative process privilege. The March 16-17, 2018 email


2
  See also Competitive Enter. Inst. v. EPA, 232 F. Supp. 3d 172, 187-88 (D.D.C. 2017); Comm. on
Oversight & Gov’t Reform, U.S. House of Representatives v. Lynch, 156 F. Supp. 3d 101, 112 (D.D.C. 2016);
Agility Pub. Warehousing Co. K.S.C. v. Dep’t of Def., 110 F. Supp. 3d 215, 220-21 (D.D.C. 2015); CREW
v DOJ, 949 F. Supp. 2d 225, 235 (D.D.C. 2013); Judicial Watch, Inc. v. U.S. Dep’t of the Treasury, 796 F.
Supp. 2d 13, 30-31 (D.D.C. 2011).


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exchange between officials concerns Commerce’s proposed comments to a draft Presidential

proclamation on imports of steel into the United States. Bogomolny Decl. ¶ 46; Index at 4. The

email discussion is predecisional to the President’s issuance of the proclamation. Id. The withheld

information is also plainly deliberative. Id. The email exchange presents Commerce official’s views

on the draft proclamation as well as Commerce’s establishment of an administrative procedure to

process Section 232 exclusion requests. Id. Such a conversation considering whether or not to

make a particular recommendation is the essence of “the give-and-take of the consultative process.”

Coastal States Gas, 617 F.2d at 866.

        Draft Section 232 Reports. The records withheld in category E are predecisional drafts of

reports prepared by Commerce regarding the effect of imports of steel and aluminum on the

national security. The drafts of two reports in category E are plainly predecisional and deliberative.

Bogomolny Decl. ¶ 47; Index at 4-5. The drafts are predecisional to the release of the reports on

January 11, 2018 and January 18, 2018. Id. There is no question that the drafts are deliberative.

They reflect the process of the agency’s decision about what information to include in the reports

and how to present that information. Id. Moreover, some of the drafts contain revisions in redline

and comments. Id. Such drafts are quintessential examples of deliberative documents. See Dudman

Comm’ns Corp. v. Dep’t of Air Force, 815 F.2d 1565, 1569 (D.C. Cir. 1987) (exempting drafts of official

Air Force histories); Russell, 682 F.2d at 1048-49 (same). Thus, deliberative process privilege applies

to the drafts in category E.

        Draft Site Visit Agenda. The document withheld in Category G is a draft, predecisional

agenda for a proposed site visit to a steel producer. The draft agenda is predecisional and

deliberative. Bogomolny Decl. ¶ 49; Index at 6. The agenda is marked “draft,” was prepared before

the planned site visit, and discloses proposed events that were not part of the final site visit. Id. It is

predecisional to the final, approved agenda. Id. The draft agenda is deliberative because it reflects



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the author’s views regarding the proposed site visit, press conference, and panel discussion. Id. For

these reasons, the draft agenda was properly withheld based on the deliberative process privilege.

        White House Meeting Documents. The withheld documents and redacted materials in category

H consist of documents, emails, and calendar entries about meetings attended by Commerce

officials at the White House. Bogomolny Decl. ¶ 50; Index at 6-7. Except for two withholdings,3

the documents, calendar entries, and portions of emails withheld in category H reveal agendas for

interagency policy meetings conducted by the National Security Council’s Policy Coordination

Committees and discussions held at those meetings. Id. The withheld materials are predecisional to

the release of Commerce’s Section 232 reports in January 2018, to the Presidential Proclamation,

and to decisions regarding Commerce’s administration of Section 232 exclusion requests. Id. The

withheld materials are plainly deliberative. They disclose the interagency deliberative process of

deciding trade policy, including recommendations that reflect the personal opinions of the authors

as to the issues considered at the meetings in formulating trade policy, and the recommendations

and tasks to be done. Id. Release of the materials in full would have a chilling effect on the open

and frank exchange of ideas, recommendations, and opinions that occurs when officials are

developing a strategy for official action. Id. ¶ 54. Thus, the withheld materials are precisely the type

of information that is protected by the deliberative process privilege. See Judicial Watch, Inc. v. U.S.

Dep’t of State, 282 F. Supp. 3d 36, 49 (D.D.C. 2017) (holding email chain between officials developing

a strategy for official action is deliberative).

        Section 232 Roll-Out Plans. The documents withheld in Category I are drafts of interagency

diplomatic, media, and legislative efforts supporting Commerce’s Section 232 actions—basically



3
  Two withholdings in category H of the Vaughn index consist of the subject line of the calendar
entries for two separate meetings. See Index at 7. For these calendar entries, the subject line
contains the name of an exercise attended by the Secretary, release of which could reveal an inter-
agency deliberative process relating to space.


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proposed roll-out plans for Commerce’s Section 232 actions, including a proposed timeline and the

deliverables required to execute the plans. Bogomolny Decl. ¶ 52; Index at 7-8. The withheld

documents pre-date the final roll-out plan and the actual public announcement of Commerce’s

Section 232 actions, and therefore are predecisional. Id. The plans are also deliberative. They

contains the author’s recommendations for diplomatic, media, and legislative strategies to support

the disclosure of Commerce’s Section 232 actions. Id. For these reasons, the documents in category

I were properly withheld based on deliberative process privilege.

        Briefing Material. Category J consists of briefing material and recommendations from the

International Trade Administration that was withheld from a calendar entry for a meeting between

the Secretary and a Romanian official. The briefing information withheld by Commerce in category

J is predecisional and deliberative. Bogomolny Decl. ¶ 53; Index at 8. The briefing information is

predecisional to the meeting. Id. The information is deliberative because it consists of the

International Trade Administration’s opinions, talking points, and recommendations regarding the

Secretary’s meeting. Id. Such recommendations “reflect the personal opinions of the author rather

than the policy of the agency” and therefore are deliberative. Bloomberg, L.P., 357 F. Supp. 2d at 168.

        For these reasons, Commerce properly withheld ten categories of information and

documents under FOIA Exemption 5.

II.     Commerce Properly Withheld Information Pursuant to FOIA’s Exemption 6.

        Commerce properly withheld information in categories K and L from the Secretary’s

calendar pursuant to FOIA Exemption 6. That exemption “protects information about individuals

in ‘personnel and medical files and similar files’ when its disclosure ‘would constitute a clearly

unwarranted invasion of personal privacy.’” Shapiro v. DOJ, 153 F. Supp. 3d 253, 257 (D.D.C. 2016)

(quoting 5 U.S.C. § 552(b)(6)). The D.C. Circuit has explained that Exemption 6 can embrace “bits

of personal information, such as names,” Judicial Watch, 449 F.3d at 152, but the mere fact that an



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agency file or record contains personal, identifying information is not enough—the information

must also be “of such a nature that its disclosure would constitute a clearly unwarranted privacy

invasion,” Nat’l Ass’n of Home Builders v. Norton, 309 F.3d 26, 32 (D.C. Cir. 2002).

        To make that determination, the agency weighs “‘the private interest involved (namely the

individual’s right of privacy) against the public interest (namely, the basic purpose of [FOIA], which

is to open agency action to the light of public scrutiny).’” People for the Am. Way Found. v. Nat’l Park

Serv., 503 F. Supp. 2d 284, 304 (D.D.C. 2007) (quoting Judicial Watch, 449 F.3d at 153).

        The withheld portions of the two calendar entries in category K contain an email from a

private individual to the Secretary’s personal email account, and information about a private

individual who organized a non-profit corporation’s annual dinner that had invited the Secretary to

attend. Bogomolny Decl. ¶ 57; Index at 8-9. These withholdings contain personal, identifying

information about private individuals. Id. The email discloses the author’s personal discussions with

the Secretary and contains a dinner invitation to the Secretary and his wife. Id. The email contains

the personal email addresses of the Secretary, his wife, and the email’s author. Id. The other entry

about the non-profit corporation’s annual dinner includes the names of two other expected

attendees, the name and telephone number of the event organizer, and the Secretary’s wife’s

personal email address. Id. The withholdings in category L consist of calendar entries from the

Secretary’s calendar set aside for his personal travel time, medical appointments, private events, and

medical appointments. Bogomolny Decl. ¶ 57; Index at 9.

        The calendar entries are “similar files” protected from disclosure under FOIA Exemption 6.

A record is a similar file if it contains personal information identifiable to a particular person. U.S.

Dep’t of State v. Wash. Post Co., 456 U.S. 595, 599-602 (1982). Here, the entries include the names and

email addresses of individuals outside of the government, as well as the Secretary and his wife.

Bogomolny Decl. ¶ 57; Index at 8-9. Thus, because the information contained in the entries are



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identifiable to those individuals, the entries are “similar files.” See, e.g., Seife v. Dep’t of State, 298 F.

Supp. 3d 592, 623-24 (S.D.N.Y. 2018) (holding emails, proposed talking points, draft opening

statements, and schedules containing the names and email addresses of officials and others are

“similar files”).

        Upon review of the materials in categories K and L, Commerce determined that that the

privacy interest in the withheld information outweighs the public interest in its disclosure.

Bogomolny Decl. ¶¶ 58-61; Index at 8-9. Commerce determined that the individuals’ privacy

interests were substantial. The attendees of the dinners are private citizens. Bogomolny Decl. ¶ 58;

Index at 8-9. Moreover, the author of the personal email pasted into the Secretary’s calendar did not

appear to have intended for the email to be copied on a government calendar system or known that

Commerce would provide the information in the email more broadly or publicly. Bogomolny Decl.

¶ 58. Similarly, the Secretary possesses an interest in protecting the details concerning his travel,

attendance at private events, and medical appointments from public disclosure, particularly because

the disclosure of such information may pose a security risk. Id. ¶ 61; Index at 9.

        On the other side of the scale, Commerce determined that there is no public interest in

disclosing the identities of attendees of private dinners with the Secretary and his wife, and the

location of those dinners, because that information does not reveal anything about how Commerce

performs its duties. Id. ¶ 59. Likewise, the details of the Secretary’s personal travel time, medical

appointments, personal dinners, private events, and medical appointments shed no light on how

Commerce conducts its business. Id. ¶ 61. For these reasons, Commerce properly determined that

the privacy interests in the information withheld in categories K and L outweigh the public interest

in disclosure and properly withheld this information pursuant to Exemption 6. Id. ¶¶ 60-61.




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III.    Commerce Did Not Waive its Ability to Protect Certain Information Under
        Exemptions 5 and 6 by Mistakenly Producing it.

        As a general matter, “when an agency has officially acknowledged otherwise exempt

information through prior disclosure, the agency has waived its right to claim an exemption with

respect to that information.” ACLU v. CIA, 710 F.3d 422, 426 (D.C. Cir. 2013). The D.C. Circuit

has, however, narrowly construed the “official acknowledgement” doctrine. A plaintiff must satisfy

three criteria: (1) the information requested must be as specific as the information previously

released; (2) the information requested must match the information previously disclosed; and (3) the

information requested must already have been made public through an official and documented

disclosure. Wolf v. CIA, 473 F.3d 370, 378 (D.C. Cir. 2007) (citing Fitzgibbon v. CIA, 911 F.2d 755,

765-66 (D.C. Cir. 1990)). While the information Commerce inadvertently disclosed in its original

production of the Secretary’s calendar satisfies the first two criteria, it does not satisfy the third

criteria because as an erroneous, mistaken production, it was not an official, authorized disclosure.

        A purposeful, yet unauthorized, disclosure of documents does not constitute a waiver of an

applicable FOIA exemption. See, e.g., Medina-Hincapie v. Dep’t of State, 700 F.2d 737, 742 n20 (D.C.

Cir. 1983) (agency’s unauthorized disclosure of documents it seeks to withhold did not waive FOIA

exemption); Pub. Citizen Health Research Group v. FDA, 953 F. Supp. 400, 404-06 (D.D.C. 1996)

(finding no waiver where material accidently released and information not disseminated by

requester); Kay v. FCC, 867 F. Supp. 11, 23-24 (D.D.C. 1994) (agency did not waive Exemption 7(A)

by inadvertently disclosing 6 unredacted documents in a 1,474 page release). Cf. Montgomery v. IRS,

330 F. Supp. 3d 161, 169 (D.D.C. 2018), reconsideration denied, 356 F. Supp. 3d 74 (D.D.C. 2019)

(finding disclosure of the existence of records during the administrative process did not amount to

an official acknowledgement of records that would waive a Glomar response).

        Nor can an agency waive an individual’s privacy interests at all, since the privacy interests at

stake under Exemption 6 belong to the individual, not the agency. See, e.g., Prison Legal News v. Exec.


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Office for U.S. Attorneys, 628 F.3d 1243, 1249 (10th Cir. 2011); Sherman v. Dep’t of the Army, 244 F.3d

357, 363 (5th Cir. 2001); Blackwell v. FBI, 680 F. Supp. 2d 79, 94 n.6 (D.D.C. 2010).

        And when an agency takes steps to correct a mistaken disclosure, as Commerce did here, it

demonstrates that the disclosure was indeed inadvertent and unauthorized. See United States v. Story

Cty., Iowa, 28 F. Supp. 3d 861, 874 (S.D. Iowa 2014); Astley v. Lawson, 1991 WL 7162, at *8 (D.D.C.

Jan. 11, 1991). See also Williams v. District of Columbia, 806 F.Supp.2d 44 (D.D.C. 2011) (holding that

in the attorney-client privilege context, inadvertent disclosures do not waive privilege when the

holder of the privilege promptly took reasonable steps to rectify the error); Bowles v. Nat’l Ass’n of

Home Builders, 224 F.R.D. 246, 253-54 (D.D.C. 2004) (“Courts have consistently held that, in cases of

involuntary disclosure, waiver occurs only when the holder has failed to take reasonable steps to

reclaim the protected material.”) (internal quotation marks and citations omitted).

        The disclosure here was undisputedly caused by a mistake of an agency employee, and

Commerce took reasonable steps to correct the disclosure. Once notified during the course of

litigation that one set of records produced to CoA Institute contained inconsistent withholdings of

ethics opinions, agency counsel alerted his leadership about the inconsistent disclosures and

investigated the circumstances surrounding the disclosure. Bogomolny Decl. ¶¶ 19, 21-23. During

that investigation, Commerce determined that a portion of records from the Secretary’s calendar

mistakenly had not been properly reviewed and redacted prior to production. Id. ¶ 23. Following its

investigation and after conferring with the Department of Justice, Commerce determined that the

release of the information from the Secretary’s calendar was not authorized, and subsequently sent a

corrected version of the records to CoA Institute and asked it to substitute the corrected version for

the original. Id. ¶ 24-30 and Ex. 12 thereto. Accordingly, the mistaken disclosure does not waive

exemptions asserted for withholdings from the Secretary’s calendar.




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                                         CONCLUSION

       For the foregoing reasons, Commerce respectfully requests that the Court grant it summary

judgment on all of CoA Institute’s claims.

Dated: October 4, 2019                       Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             MARCIA BERMAN
                                             Assistant Branch Director, Federal Programs Branch

                                              /s/ Robert M. Norway
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 CAUSE OF ACTION INSTITUTE,
                                                   )
                                                   )
                 Plaintiff,
                                                   )
                                                   )                  Case No. 1:18-cv-2397 (JEB)
 UNITED STATES DEPARTMENT
                                                   )
 OF COMMERCE,
                                                   )
                                                   )
                 Defendant.
                                                   )

                   DEFENDANT’S STATEMENT OF MATERIAL FACTS
                    AS TO WHICH THERE IS NO GENUINE DISPUTE

        Pursuant to Local Rule 7(h)(1), Defendant United States Department of Commerce

respectfully submits the following statement of material facts as to which there is no genuine

dispute:

        1.      In August and September 2018, Cause of Action Institute (“CoA Institute”)

submitted three separate FOIA requests to the United States Department of Commerce

(Commerce”) seeking the calendars of several high-ranking Commerce officials, including Secretary

Wilber Ross; records concerning the staffing and procedures for processing product exclusion

requests under Section 232 of the Trade Expansion Act of 1932; and communications to or from

eleven Commerce officials that contained certain search terms. October 4, 2019 Declaration of

Michael Bogomolny (“Bogomolny Decl.”) ¶¶ 3, 5, 7.

        2.      Commerce acknowledged receipt of the FOIA Requests and assigned tracking

numbers (the “1990 Request,” the “2062 Request”, and the “2063 Request”). Bogomolny Decl.

¶¶ 4, 6, 8.

        3.      The parties negotiated a narrowing of the 2063 Request. Bogomolny Decl. ¶ 9.

        4.      Commerce made a series of productions of responsive, non-exempt records between

November, 2018 and June, 2019. Bogomolny Decl. ¶¶ 11-13, 16-17.



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        5.        In total, Commerce produced 2,712 pages of records in its productions, withheld 26

records in full, and withheld information in part from a number of records. Bogomolny Decl. ¶¶ 12,

13, 16, 17.

        6.        The parties conferred regarding Commerce’s withholdings, and CoA Institute’s

challenges thereto, on July 13, 2019. Bogomolny Decl. ¶ 19.

        7.        CoA Institute represented that it is not challenging the adequacy of Commerce’s

search for responsive records, but that it is challenging 18 withholdings in Commerce’s productions,

as well as all of the records withheld in full in response to the 2063 Request. Bogomolny Decl.

¶¶ 19-20.

        8.        During the conferral, CoA Institute notified Commerce, through counsel, that

Commerce had included in its production at least nine entries in the Secretary’s calendar of ethics

opinions that were unredacted. Bogomolny Decl.¶ 20.

        9.        In conjunction with the preparation of its Vaughn index, counsel for Commerce, Mr.

Bogomolny, subsequently brought the disclosure of ethics opinions to the attention of his leadership

and began investigating the circumstances surrounding the disclosure. Bogomolny Decl. ¶ 21-23,

Ex. 12 thereto.

        10.       Mr. Bogomolny determined that during the processing of records in response to

CoA Institute’s FOIA requests, a portion of the Secretary’s calendar was not properly reviewed and

redacted prior to its production. Bogomolny Decl. ¶ 23.

        11.       While the entire calendar file had undergone global redactions of personally

identifiable information, such as email addresses and telephone numbers, it was discovered that

approximately 80 pages of the Secretary’s calendar mistakenly had not been properly reviewed.

Bogomolny Decl. ¶ 23.




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       12.     Commerce notified undersigned counsel about concerns with the disclosure of ethics

opinions on August 21, 2019, and Commerce continued to discuss the issue with DOJ into

September. Bogomolny Decl. ¶¶ 25-27.

       13.     Commerce ultimately determined that the release of the information was inadvertent

and not authorized. Bogomolny Decl. ¶ 28.

       14.     On September 23, 2019, Commerce notified CoA Institute that it had discovered

that pages 208 to the end of the production of the Secretary’s calendar only had some global

exemptions applied but did not reflect a full review, and that as a result, some personal information

and privileged material was inadvertently produced. Bogomolny Decl. ¶¶ 29-30.

       15.     Commerce served on CoA Institute a corrected version of the file containing the

Secretary’s calendar and asked CoA Institute to replace its copy of the calendar with the corrected

version. See Ex. 12 to Bogomolny Decl.

       16.     Commerce also provided a change log showing the additional exemptions claimed.

Bogomolny Decl. ¶¶ 30, Ex. 12.

       17.     The parties subsequently conferred regarding Commerce’s additional withholdings.

Bogomolny Decl. ¶ 31.

       18.     CoA Institute indicated that it was challenging the additional withholdings except for

withholdings of telephone numbers, conference line passcodes, and email addresses. Bogomolny

Decl. ¶ 31.

       19.     Commerce withheld deliberative, predecisional material from its responsive records

pursuant to FOIA Exemption 5. Bogomolny Decl. ¶ 32.

       20.     Commerce has identified and adequately justified the basis for each of the

Exemption 5 withholdings at issue in this case through its Vaughn Index and the Declaration of

Michael Bogomolny. See Bogomolny Decl. ¶¶ 32-54; Ex. 1 (“Index”) thereto.



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        21.     The withheld materials in categories A through D consist of confidential

communications from or to attorneys regarding (1) requests for the attorneys’ opinion regarding

potential conflicts-of-interest in various contexts, such as the Secretary’s participation in particular

phone calls and outside events; (2) the communication to counsel of pertinent information

concerning the events; and (3) the legal advice provided by counsel. See Bogomolny Decl. ¶¶ 38-42;

Index at 1-4.

        22.     The withheld materials in categories C through J aided Commerce’s deliberative

process with respect to trade policy, potential actions pursuant to Section 232 of the Trade

Expansion Act of 1932, and media strategy. See Bogomolny Decl. ¶¶ 45-53; Index at 2-8.

        23.     Disclosing the withheld material would harm Commerce’s deliberations, diminish the

quality of government decision making, and potentially confuse the public regarding Commerce’s

official positions. See Bogomolny Decl. ¶ 54.

        24.     Commerce withheld material from its responsive records pursuant to FOIA

Exemption 6. Bogomolny Decl. ¶¶ 57-61.

        25.     The withheld materials in categories K and L contain identifying information about

individuals. Bogomolny Decl. ¶ 54; Index at 8-9.

        26.     Upon review of the materials in categories K and L, Commerce determined that the

individuals’ privacy interests were substantial. Bogomolny Decl. ¶¶ 58-61; Index at 8-9.

        27.     On the other side of the scale, Commerce determined that there is no public interest

in disclosing the withheld information because that information does not reveal anything about how

Commerce performs its duties. Id. ¶ 59, 61.

        28.     Commerce therefore concluded that that the privacy interests in the withheld

information outweighs the public interest in its disclosure. Bogomolny Decl. ¶¶ 60-61; Index at 8-9.




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Dated: October 4, 2019             Respectfully submitted,

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                                   MARCIA BERMAN
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                       CERTIFICATES OF FILING AND SERVICE

       I hereby certify that on this 4th day of October, 2019, a copy of the foregoing Motion

for Summary Judgment, Memorandum of Points and Authorities in Support of Defendant’s Motion

for Summary Judgment, the Statement of Material Facts as to Which There is No Genuine Dispute,

and the Declaration of Michael Bogomolny of the United States Department of Commerce were

filed electronically in PDF format at dcd_cmecf@dcd.uscourts.gov.

       I also certify that copy of the foregoing Motion for Summary Judgment, Memorandum of

Points and Authorities in Support of Defendant’s Motion for Summary Judgment, the Statement of

Material Facts as to Which There is No Genuine Dispute, and the Declaration of Michael

Bogomolny of the United States Department of Commerce were sent via electronic mail to:

       Lee A. Steven at lee.steven@causeofaction.org, ecf@causeofaction.org; and

       Russel James Valvo , III at james.valvo@causeofaction.org.



                                     /s Robert M. Norway
